Case 1:17-cv-00157-GBL-MSN Document 32 Filed 07/16/18 Page 1 of 3 PageID# 170



                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF VIRGINIA
                                    Alexandria Division


   LONNIE ORR, and BILL PORTER,                        CASE NO. 1:17-cv-00157-GBL-MSN
   individually and on behalf of all others
   similarly situated,
                             Plaintiffs,
       v.

   NATIONAL RIFLE ASSOCIATION OF
   AMERICA, a New York corporation, and
   INFOCISION, INC. d/b/a InfoCision
   Management Corporation, a Delaware
   corporation,
                          Defendants.


                          NOTICE OF VOLUNTARY DISMISSAL

       Plaintiffs Lonnie Orr and Bill Porter (collectively “Plaintiffs”) dismiss this lawsuit

against Defendants National Rifle Association of America and InfoCision, Inc. (collectively

“Defendants”) with prejudice as to their individual claims against Defendants and state as

follows:

     Federal Rule of Civil Procedure 41(a)(1) provides, in relevant part:

     (a) Voluntary Dismissal.

     (1) By the Plaintiff.

     (A) Without a Court Order. Subject to Rules 23(e), 23.1(c), 23.2 and 66 and any

     applicable federal statute, the plaintiff may dismiss an action without a court order

     by filing:

           (i) a notice of dismissal before the opposing party serves either an answer or a

           motion for summary judgment; or

           (ii) a stipulation of dismissal signed by all parties who have appeared.


                                                 1
Case 1:17-cv-00157-GBL-MSN Document 32 Filed 07/16/18 Page 2 of 3 PageID# 171



           (B) Effect. Unless the notice or stipulation states otherwise, the dismissal is

           without prejudice. But if the plaintiff previously dismissed any federal- or state-

           court action based on or including the same claim, a notice of dismissal operates

           as an adjudication on the merits.

     In this case, Defendants have neither answered Plaintiffs’ Complaint nor served a motion

for summary judgment. In addition, no class has been certified in this matter so Rule 23’s

exceptions do not apply. Likewise, this case does not involve any Receiver so as to implicate

Rule 66.

     Accordingly, Plaintiffs hereby dismiss these proceedings in accordance with Rule

41(a)(1)(i) with prejudice as to their individual claims against Defendants.



Dated: July 16, 2018

                                                      s/ Matthew B. Kaplan
                                                      Matthew B. Kaplan
                                                      VSB No. 51027
                                                      The Kaplan Law Firm
                                                      1100 N Glebe Rd
                                                      Suite 1010
                                                      Arlington, VA 22201
                                                      Tel: 703-665-9529
                                                      Fax: 888-958-1366
                                                      Email: mbkaplan@thekaplanlawfirm.com

                                                      Steven L. Woodrow (admitted pro hac vice)
                                                      (swoodrow@woodrowpeluso.com)
                                                      Patrick H. Peluso (admitted pro hac vice)
                                                      (ppeluso@woodrowpeluso.com)*
                                                      Woodrow & Peluso, LLC
                                                      3900 East Mexico Ave., Suite 300
                                                      Denver, Colorado 80210
                                                      Telephone: (720) 213-0675
                                                      Facsimile: (303) 927-0809




                                                 2
Case 1:17-cv-00157-GBL-MSN Document 32 Filed 07/16/18 Page 3 of 3 PageID# 172



                                                    Stefan Coleman
                                                    (Law@stefancoleman.com)
                                                    Law Offices of Stefan Coleman, P.A.
                                                    201 S Biscayne Blvd., 28th Floor
                                                    Miami, FL 33131
                                                    Telephone: (877) 333-9427
                                                    Facsimile: (888) 498-8946


                                     Certificate of Service

       I hereby certify that, on the date indicated below, the foregoing document (and any
attachments or accompanying documents) was served via the Court’s CM/ECF System on
counsel for all parties who have appeared in this matter.


                                              /s/ Matthew B. Kaplan
                                            Matthew B. Kaplan
                                            Dated: July 16, 2018




                                               3
